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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                  Holding a Criminal Term

                           Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA                          CRIMINAL NO. 21-cr-28-APM

            v.                                    VIOLATIONS:

DONOVAN CROWL,                                    COUNT 1:
(Counts 1,2, 3, 4, 5, 7)                          18 U.S.C. § 1512(k)
                                                  (Conspiracy to Obstruct      an   Official
SANDRA PARKER,                                    Proceeding)
(Counts 1,2,3, 4, 5, 7)
                                                  COUNT 2:
BENNIE PARKER,                                    18 U.S.C. §§ 1512(c)(2), 2
(Counts 1,2,3, 5)                                 (Obstruction of an Official Proceeding and
                                                  Aiding and Abetting)
LAURA STEELE,
(Counts 1,2,3, 4, 5, 7, 8)                        COUNT 3:
                                                  18 U.S.C. § 372
CONNIE MEGGS,                                     (Conspiracy to Prevent an Officer from
(Counts 1,2,3, 4, 5)                              Discharging Any Duties)

WILLIAM ISAACS, and                               COUNT 4:
(Counts 1,2, 3, 4, 5, 6, 7)                       18 U.S.C. §§ 1361,2
                                                  (Destruction of Government Property and
JAMES BEEKS,                                      Aiding and Abetting)
(Counts 1,2,3, 4, 5, 7)
                                                  COUNT 5:
MICHAEL GREENE,                                   18 U.S.C. § 1752(a)(1)
(A/K/A “MICHAEL SIMMONS”)                         (Entering and Remaining in a Restricted
(Counts 1,2,3, 5, 9)                              Building or Grounds)

                  Defendants.                     COUNTS 6-7:
                                                  18 U.S.C. §§ 231(a)(3), 2
                                                  (Civil Disorder and Aiding and Abetting)

                                                  COUNT 8-9:
                                                  18 U.S.C. §§ 1512(c)(1), 2
                                                  (Tampering with Documents or
                                                  Proceedings and Aiding and Abetting)
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                           EIGHTH SUPERSEDING INDICTMENT
       The Grand Jury charges that, at all times material to this Indictment, on or about the dates

and times stated below:

                                            Introduction
                     The Transfer of Presidential Power in the United States

        1.       The United States Constitution and federal statutes codify the procedures and dates

governing the transfer of presidential power in the United States. The Twelfth Amendment

requires presidential electors to meet in their respective states and certify “distinct lists of all

persons voted for as President, and of all persons voted for as Vice-President, and of the number

of votes for each.” It further requires that the Vice President “shall, in the presence of the Senate

and House of Representatives, open all the certificates and the votes shall then be counted.” Title

3, Section 15 of the United States Code provides that the United States Congress must convene

during a joint session proceeding (“the Joint Session”) at 1:00 p.m. “on the sixth day of January

succeeding every meeting of the electors,” with the Vice President presiding, to count the electoral

votes, resolve any objections, certify their validity, and announce the result (“Certification of the

Electoral College vote”). The Twentieth Amendment provides that the terms of the President and

Vice President shall accordingly end at noon on the 20th day of January, “and the terms of their

successors shall then begin.”

             Plot to Oppose by Force the 2020 Lawful Transfer of Presidential Power

       2.        The 2020 United States Presidential Election (“Presidential Election”) occurred on

November 3, 2020. As of November 7, 2020, the incumbent President Donald J. Trump was

projected to have lost the Presidential Election.

       3.        After the Presidential Election, Elmer Stewart Rhodes III, the founder and leader

of the Oath Keepers, began encouraging members and affiliates of his organization to oppose by


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force the lawful transfer of presidential power. The Oath Keepers is a large but loosely organized

collection of individuals, some of whom are associated with militias. Some members of the Oath

Keepers believe that the federal government has been coopted by a cabal of elites actively trying

to strip American citizens of their rights. Though the Oath Keepers will accept anyone as

members, they explicitly focus on recruiting current and former military, law enforcement, and

first-responder personnel. The organization’s name alludes to the oath sworn by members of the

military and police to defend the Constitution “from all enemies, foreign and domestic.” On their

website, the “Oath Keepers declare they will not obey unconstitutional orders.”

       4.      Rhodes and certain regional leaders of the Oath Keepers began recruiting others to

travel to Washington, D.C., to participate in operations aimed at stopping the transfer of

presidential power.     Rhodes and others (“the co-conspirators”) coordinated travel across the

country to enter Washington, D.C., equipped themselves with a variety of weapons, donned

combat and tactical gear, and were prepared to answer Rhodes’s call to take up arms at Rhodes’s

direction. Some also amassed firearms on the outskirts of Washington, D.C., distributed them

among “quick reaction force” (“QRF”) teams, and planned to use the firearms in support of their

plot to stop the lawful transfer of presidential power.

              Oath Keepers Attack the United States Capitol on January 6,2021

       5.      Beginning in late December 2020, via encrypted and private communications

applications, Rhodes and the co-conspirators introduced below coordinated and planned to travel

to Washington, D.C., on or around January 6, 2021, the date of the Certification of the Electoral

College vote. Rhodes named MICHAEL GREENE, also known as “Michael Simmons,” to be the

operations leader. GREENE, Rhodes and others made plans to bring weapons to the area to




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support the operation. They then traveled across the country to the Washington, D.C., metropolitan

area in early January 2021.

       6.      On January 6, 2021, the Joint Session convened at the Capitol building for the

Certification of the Electoral College vote.

       7.      A large crowd began to gather outside the Capitol perimeter as the Joint Session

got underway at 1:00 p.m. Crowd members eventually forced their way through, up, and over

United States Capitol Police barricades and advanced to the building’s exterior fafade. Shortly

after 2:00 p.m., crowd members forced entry into the Capitol by breaking windows, ramming open

doors, and assaulting Capitol Police and other law enforcement officers.

       8.      Around that time, GREENE and Rhodes each entered the restricted area of the

Capitol grounds and directed the co-conspirators to meet them at the Capitol.

       9.      Around 2:30 p.m., DONOVAN CROWE, SANDRA PARKER, LAURA STEELE,

CONNIE MEGGS, WILLIAM ISAACS, JAMES BEEKS, and other co-conspirators, including

Kelly Meggs, Kenneth Harrelson, Jessica Watkins, Joseph Hackett, David Moerschel, Graydon

Young, Caleb Berry, and Jason Dolan—many of whom were wearing paramilitary clothing and

patches with the Oath Keepers name, logo, and insignia—marched in a “stack” formation up the

east steps of the Capitol to the area outside of the Capitol Rotunda Doors. At the time, the doors

were closed and guarded by Capitol Police officers. The group of co-conspirators joined a mob of

people, some of whom attacked officers and tried to enter the Capitol while yelling, among other

things, “Take their shields” and “Our house!” Attackers assaulted officers using pepper spray,

flagpoles, and numerous improvised weapons and projectiles. They also disarmed the officers by

stealing their shields and pushing them away from the Rotunda Doors. At 2:38 p.m., the doors

were breached, and the group of co-conspirators stormed into the Capitol alongside the mob.




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During the attack on the Capitol, the Rotunda Doors and surrounding facade suffered damage

worth thousands of dollars.

        10.    Once inside the Capitol, the group of co-conspirators entered the Rotunda and then

split up. Half of the group tried to push their way through a line of law enforcement officers

guarding a hallway that led to the Senate Chamber. Law enforcement officers forcibly repelled

their advance. The participants in this half of the group then regrouped in the Rotunda and left the

building. The other half of the group headed toward the House of Representatives, in search of

Speaker of the House Nancy Pelosi. They did not find Speaker Pelosi and ultimately left the

building.

       11.     Later, another group of co-conspirators, including Joshua James, a regional leader

from Alabama, breached the Capitol grounds, marching from the west side to the east side of the

Capitol building, up the east stairs, and breached the same Rotunda Doors. Once inside, members

of this group forced their way past law enforcement officers trying to guard the Rotunda and

shouted at officers to “get out” of “my Capitol.” James violently pulled at and pushed his way

past officers, forcing officers to deploy chemical spray in an effort to stop James and others from

progressing into the Rotunda.

       12.     While certain Oath Keepers members and affiliates inside of Washington, D.C.,

breached the Capitol grounds and building, others remained stationed just outside of the city in

QRF teams. The QRF teams were prepared to rapidly transport firearms and other weapons into

Washington, D.C., in support of operations aimed at using force to stop the lawful transfer of

presidential power.




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                                       The Co-Conspirators

       13.        The Oath Keepers members and affiliates who conspired with one another and

others included the defendants listed below and others:

             a. MICHAEL GREENE, also known as “Michael Simmons,” was a resident of

                  Indianapolis, Indiana, and used the monikers “Whip” and “Whiplash”;

             b. DONOVAN CROWL was a resident of Woodstock, Ohio, who used the moniker

                  “Trapper”;

             c. SANDRA PARKER was a resident of Morrow, Ohio;

             d. BENNIE PARKER, the husband of SANDRA PARKER, was resident of Morrow,

                  Ohio;

             e. LAURA STEELE was a resident of Thomasville, North Carolina;

             f. CONNIE MEGGS was a resident of Dunnellon, Florida;

             g. WILLIAM ISAACS was a resident of Kissimmee, Florida;

             h. JAMES BEEKS was a resident of Orlando, Florida;

             i.   Elmer Stewart Rhodes III, was the founder and leader of the Oath Keepers;

             j.   Kelly Meggs, the husband of CONNIE MEGGS, was a resident of Dunnellon,

                  Florida, and the head of the Florida chapter of the Oath Keepers, who used the

                  monikers “Gator 1” and “OK Gator 1”;

             k. Kenneth Harrelson was a resident of Titusville, Florida, who assisted Kelly Meggs

                  in leading the Florida Oath Keepers, and who used the moniker “Gator 6”;

             1.   Jessica Watkins was a resident of Woodstock, Ohio, who led the Ohio team of Oath

                  Keepers at the Capitol on January 6, 2021, and who used the monikers “Captain”

                  and “Cap”;




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             m. Joseph Hackett was a resident of Sarasota, Florida, who used the moniker “Ahab”

                and “Faith”;

             n. David Moerschel was a resident of Punta Gorda, Florida, who used the moniker

                “Hatsy”;

             o. Graydon Young, the brother of STEELE, was a resident of Englewood, Florida,

                who used the moniker “GenXPatriot”;

             p. Caleb Berry, was a resident of Tampa, Florida, who used the moniker “Breacher”;

             q. Jason Dolan, was a resident of Wellington, Florida, who used the moniker

                “Turmoil”;

             r. Joshua James was a resident of Arab, Alabama, who used the moniker “Hydro,”

                and served as the leader of the second group of co-conspirators that breached the

                Capitol through the East Rotunda Doors on January 6, 2021; and

             s. Thomas Caldwell was a resident of Berryville, Virginia, who used the monikers

                “CAG, 99 16 Spy,” and “CAG Spy,” and who was one of the QRF leaders.

                                  Background: November 2020

       14.      Beginning in November 2020, Rhodes began disseminating messages on encrypted

applications that encouraged Oath Keepers members and affiliates to oppose by force the lawful

transfer of presidential power. For example:

             a. On November 5, 2020—two days after the Presidential Election— Rhodes sent a

                message to an invitation-only, end-to-end encrypted group chat on the application

                Signal, titled, “Leadership intel sharing secured” (“Leadership Intel Chat”), which,

                at that point, included Kelly Meggs and others. In his message, Rhodes urged his




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      followers to refuse to accept the election result and stated: “We aren’t getting

      through this without a civil war. Too late for that. Prepare your mind, body, spirit.”

   b. On November 7, 2020—the date that President Trump was projected to have lost

      the Presidential Election— Rhodes wrote to the Leadership Intel Chat: “[W]e must

      now do what the people of Serbia did when Milosevic stole their election. - Refuse

      to accept it and march en-mass on the nation’s Capitol.” He then sent a link to a

      Bitchute.com video titled “STEP BY STEP PROCEDURE, HOW WE WON

      WHEN MILOSEVIC STOLE OUR ELECTIONS.” Rhodes continued:

             I am in direct context with the Serbian author of that video. His
             videos are excellent. Here is his written advice to us:

             “- Peaceful protests, good, well played round 1

             - A complete civil disobedience, they are not your representatives.
             They are FOREIGN puppet government.

             - Connect with the local police and start organize by neighborhoods
             to stay safe (we didn’t need this step)

             - We swarmed the streets and started confronting the opponents. I
             know, not nice, but it must be done if the institutions stop to exist

             - Millions gathered in our capital. There were no barricades strong
             enough to stop them, nor the police determined enough to stop them

             - Police and Military aligned with the people after few hours of fist-
             fight

             - We stormed the Parliament

             - And burned down fake state Television!

             WE WON!”




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               Later, on November 10, 2020, Rhodes publicly published this plan of action under

               the headline “WHAT WE THE PEOPLE MUST DO” on the Oath Keepers website

               in a “Call to Action!”

        15.    On November 9, 2020, Rhodes held a private GoToMeeting—an online meeting

site that allows users to host conference calls and video conferences via the Internet—limited to

Oath Keepers members, titled, “Oath Keepers National Call - Members Only,” which was

attended by GREENE, Kelly Meggs, Harrelson, Watkins, Hackett, and others.                During the

meeting, Rhodes outlined a plan to stop the lawful transfer of presidential power, including

preparations for the use of force, and urged those listening to participate.

        16.    Immediately after that meeting, Kelly Meggs sent a message to an invitation-only

Signal group chat titled, “OKFL Hangout” (“OKFL Hangout Chat”)—including Harrelson,

Hackett, Moerschel, and others—stating, “Anybody not on the call tonight. We have been issued

a call to action for DC. This is the moment we signed up for . ...”).

        17.    Also immediately after that meeting, Watkins sent messages to several people

whom she referred to in her phone as “recruits,” including BENNIE PARKER, informing them

about a “military style basic” training class her militia was organizing for the beginning of January

2021 to get these recruits “fighting fit by innaugeration.” BENNIE PARKER responded by telling

Watkins that he had mentioned meeting Watkins to the leader of his own militia and asked to get

together with Watkins, noting, “My wife [SANDRA PARKER] wants to get her ham license and

also make a database connecting other Militias for a more unified connection.”

        18.    From November 13-15, 2020, GREENE, CROWL, Watkins, and others came to

the Washington, D.C., metropolitan area in response to a call to action from Rhodes and stayed at




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Caldwell’s residence. CROWL, Watkins, and others brought weapons with them, including

firearms and ammunition.

       19.    On November 22, 2020, the Florida chapter of the Oath Keepers—including Kelly

Meggs, Harrelson, Hackett, and others—held a training on “unconventional warfare.”

       20.    On November 26, 2020, Watkins sent a message to BENNIE PARKER inviting

him to a training session, and BENNIE PARKER responded by asking about access to a gun range.




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                                         COUNT ONE
                                     (18 U.S.C. § 1512(k))
                        (Conspiracy to Obstruct an Official Proceeding)

       21.      From in and around December 2020, through in and around January 2021, in the

District of Columbia and elsewhere, the defendants,

                                      DONOVAN CROWL,
                                       SANDRA PARKER,
                                       BENNIE PARKER,
                                        LAURA STEELE,
                                        CONNIE MEGGS,
                                      WILLIAM ISAACS,
                                      JAMES SEEKS, and
                                      MICHAEL GREENE,

did knowingly combine, conspire, confederate, and agree with each other and other persons known

and unknown to the Grand Jury, to corruptly obstruct, influence, and impede an official

proceeding, that is, the Certification of the Electoral College vote, in violation of Title 18, United

States Code, Section 1512(c)(2).

                                    Purpose of the Conspiracy

       22.      The purpose of the conspiracy was to stop, delay, and hinder the Certification of

the Electoral College vote.

                                        Manner and Means

       23.      GREENE, CROWL, SANDRA PARKER, BENNIE PARKER, STEELE,

CONNIE MEGGS, ISAACS, SEEKS, Rhodes, Kelly Meggs, Harrelson, Watkins, Hackett,

Moerschel, Young, Berry, Dolan, James, and Caldwell, with others known and unknown, carried

out the conspiracy through the following manner and means, among others, by:

             a. Attending or scheduling trainings to teach and learn paramilitary combat tactics;

             b. Using websites, social media, text messaging, and messaging applications to recruit

                other individuals to travel to Washington, D.C.;



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             c. Coordinating in advance with others, including members of the Oath Keepers from

                  other regions, and joining forces with these individuals and groups;

             d. Traveling to Washington, D.C.;

             e. Bringing and contributing paramilitary gear and supplies—including firearms,

                  camouflaged combat uniforms, tactical vests with plates, helmets, eye protection,

                  and radio equipment;

             f. Donning clothes with the Oath Keepers insignia;

             g. Changing into paramilitary gear—including helmets—before marching to the

                  Capitol;

             h. Moving together in a military “stack” formation while utilizing hand signals to

                  maintain communication and coordination while advancing toward the Capitol;

             i.   Forcibly storming past exterior barricades, Capitol Police, and other law

                  enforcement officers, and entering the Capitol; and

             j.   Using secure and encrypted communications applications like Signal (an end-to-

                  end encrypted messaging service) and Zello (an application that emulates push-to-

                  talk walkie-talkies over cellular telephone networks) to develop plans and later

                  communicate on January 6, 2021.

                                         Acts in Furtherance
                                           December 2020

       24.        On December 12, 2020, the North Carolina chapter of the Oath Keepers held a

training session that, according to the leader of the chapter, would be focused on:

       vehicle operations,, road blocks,, vehicle recovery, convoy operations,,.. . setting
       up hasty ambushes,, and reacting to ambushes, but the first thing we are going to
       do is fall into a formation when we assemble ....

CROWL and Watkins planned to, but did not, attend that training.


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       25.     On December 14, 2020—the same day that presidential electors from each state

and the District of Columbia cast their votes in the Presidential Election—Rhodes published a

letter on the Oath Keepers website advocating for the use of force to stop the lawful transfer of

presidential power.

       26.     On December 19,2020, Hackett sent an email to Young with the subject line, “test.”

In the email, Hackett wrote, “I believe we only need to do this when important info is at hand like

locations, identities, Ops planning.” Attached to the email was a photograph that showed cursive

handwriting on a lined notepad that stated, “Secure Comms Test. Good talk tonight guys! Rally

Point in Northern Port Charlotte at Grays if transportation is possible. All proton mails. May

consider an RP that won’t bum anyone. Comms - work in progress. Messages in cursive to

eliminate digital reads. Plans for recruitment and meetings.”

       27.     On December 22, 2020, in an interview with a regional Oath Keepers leader,

Rhodes stated that if President-Elect Biden were able to assume the presidency, “We will have to

do a bloody, massively bloody revolution against them. That’s what’s going to have to happen.”

He urged President Trump to use military force to stop the lawful transfer of presidential power,

describing January 6, 2021, as “a hard constitutional deadline” to do so.

       28.     On December 22, 2020, at STEELE’S urging, Young made plans to fly from

Florida to North Carolina on January 4,2021, to meet up with STEELE to drive to the Washington,

D.C. area on January 5, 2021.

       29.     On December 23, 2020, Rhodes published another open letter on the Oath Keepers

website. Rhodes explained, “tens of thousands of patriot Americans, both veterans and non­

veterans, will already be in Washington D.C., and many of us will have our mission-critical gear




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stowed nearby just outside D.C.” Rhodes stated in the open letter that he and others may have to

“take to arms in defense of our God given liberty.”

           30.   Rhodes continued advocating for the use of force to stop the lawful transfer of

presidential power with Kelly Meggs, Harrelson, Hackett, Moerschel, and others in the OKFL

Hangout Chat.

           31.   On December 25, 2020, Kelly Meggs messaged the OKFL Hangout Chat, in

reference to the Joint Session, “We need to make those senators very uncomfortable with all of us

being a few hundred feet away.” Rhodes then wrote, “I think Congress will screw him [President

Trump] over. The only chance we/he has is if we scare the shit out of them and convince them it

will be torches and pitchforks time is they don’t do the right thing. But I don’t think they will

listen.”

           32.   In late December 2020, Hackett, Young, and others discussed the need for firearms

training. On December 26, 2020, Young attempted to arrange a training class and wrote an email

to a Florida company that conducts training on firearms and combat. Young wrote, in part, “I

trained with you not long ago. Since then I have joined Oath Keepers. I recommended your

training to the team. To that effect, four of us would like to train with you, specifically in your

UTM rifle class.”

           33.   On December 26 and 27, 2020, Watkins and BENNIE PARKER exchanged text

messages relating to preparations for the trip to Washington, D.C., on January 6, 2021. BENNIE

PARKER also texted Watkins, “I may have to see what it takes to join your militia, ours is about

gone.”




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        34.     On December 29, 2020, Watkins texted GROWL, “We plan on going to DC on the

6th.. . Trump wants all able bodied Patriots to come ... If Trump activates the Insurrection Act,

I’d hate to miss it[.]”

        35.     On December 29 and 30, 2020, Watkins and BENNIE PARKER exchanged text

messages in which they discussed Oath Keepers membership and meeting in advance to prepare

for the trip to Washington, D.C., on January 6, 2021.

        36.     Starting on December 30, 2020, Rhodes administered an invitation-only Signal

group chat titled, “DC OP: Jan 6 21” (“Leadership Signal Chat”). GREENE, Kelly Meggs,

Harrelson, Watkins, Hackett, James, and others were invited to and joined the Leadership Signal

Chat.

        37.     On December 30, 2020, Rhodes wrote to the Leadership Signal Chat, “Em putting

[Person Nineteen] in overall command of this op. And then Whip, Josh and Kelly as his seconds

because they have been to DC prior.” Rhodes additionally explained, “I prefer that when cohesive

teams come to an op, they run as a team, under the immediate leadership of their own team leads.

They way they get operational experience as a unit and their leaders get to lead. BUT, under the

overall command of the op leadership I assign, who have been on prior ops in DC. And of course,

under my overall command (I will be busy speaking and doing meetings, so I will only step in if I

see a major problem).” The co-conspirators used the Leadership Signal Chat, the Leadership Intel

Chat, and other Signal group chats to plan for January 6, 2021.

        38.     The co-conspirators also planned and coordinated for January 6, 2021, in virtual

GoToMeetings.

        39.     On December 31, 2020, at approximately 10:08 p.m., Rhodes wrote to the

Leadership Intel Chat, “There is no standard political or legal way out of this.”




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       40.    On December 31, 2020, Kelly Meggs sent Facebook messages to another person

who intended to travel to Washington, D.C., on January 6, 2021: “You guys Gonna carry?” and

“Ok we aren’t either, we have a heavy QRF 10 Min out though.”

       41.    In late December, Caldwell identified the Comfort Inn Ballston, in Arlington,

Virginia, as the location that the QRF would use as its base of operations for January 6, 2021.

Caldwell shared the location of the hotel with CROWL, Watkins, and the North Carolina QRF

team leader. The North Carolina QRF team leader reserved three rooms and paid for one of the

rooms; Kelly Meggs paid for the other two rooms. One room was occupied by the North Carolina

QRF team; the second room was occupied by the Arizona QRF team; the third room was occupied

by the Florida QRF team. These QRF teams used the rooms to store and guard the firearms that

they and other co-conspirators contributed to the QRF.

                                         January 2021
       42.    In early January, BEEKS followed the Parler account of the Florida Oath Keepers,

which was controlled by Kelly Meggs and contained information about the group’s plans for

January 6, 2021.

       43.    On January 1, 2021, CROWL sent Caldwell a Facebook message stating, “Happy

New year, to you Sir!! Guess I’ll be seeing you soon. Will probably call you tomorrow.. .mainly

because.. .1 like to know wtf plan is. You are the man Commander.”

       44.    On January 1, 2021, CROWL and Watkins made plans to travel by car to

Washington, D.C., to attend the events of January 5-6, 2021.

       45.     On January 1 and 2, 2021, CROWL exchanged messages with Caldwell about the

hotel where they planned to stay in Arlington, Virginia, and Caldwell told CROWL he was “setting

up shop there.” Caldwell noted that the hotel had “quick access to the city via Interstate 66.”

Caldwell informed CROWL that the North Carolina QRF team leader had reserved a room at that


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hotel and “will be the quick reaction force” and “will have the goodies in case things go bad and

we need to get heavy.”

        46.      On January 2,2021, Watkins messaged the Leadership Signal Chat about assigning

roles to individuals on her team, including operating HAM radios.

        47.      On the morning of January 2, 2021, Kelly Meggs messaged the Leadership Signal

Chat, “Good call last night. / Lots covered, I’ll get with NC team today and find out QRF

location[.]”

        48.      On January 2,2021, Rhodes messaged Kelly Meggs on Signal, “If you want to stow

weapons with Whip you can. He’ll have a secure car trunk or his hotel room (or mine).” Kelly

Meggs responded, “Last night call ... we discussed a QRF RP so we may do that. As well as the

NC team has a hotel room close by.” Rhodes messaged, “Ok. We WILL have a QRF. this

situation calls for it.”

        49.      On January 2, 2021, Caldwell received a message from the North Carolina QRF

team leader, stating “FLA. 2 men back[.] 12 to 15 going in DC.”

        50.      On the evening of January 2, 2021, at about 5:43 p.m., Kelly Meggs posted a map

of Washington, D.C., in the Leadership Signal Chat, along with the message, “1 if by land[,] North

side of Lincoln Memorial[,] 2 if by sea[,] Comer of west basin and Ohio is a water transport landing

!!” Kelly Meggs continued, “QRF rally points[.] Water of the bridges get closed.” In response,

the North Carolina QRF team leader wrote, “My sources DC working on procuring Boat

transportation as we speak.” At that time, Caldwell was asking contacts if they or anyone they

knew could lend a boat so that “we could have our Quick Response Team with the heavy weapons

standing by, quickly load them and ferry them across the river to our waiting arms .. ..”




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       51.     At least as early as January 3, 2021, ISAACS, Young, Kelly Meggs, Harrelson,

Watkins, Dolan, Hackett, Moerschel, Berry, and others joined an invitation-only Signal group chat

titled “OK FL DC OP Jan 6” (“Florida Signal Chat”). Kelly Meggs and Harrelson were the

administrators of the Florida Signal Chat.

       52.     On January 3, 2021, ISAACS sent messages to a member of the Oath Keepers who

was also a member of the Florida Signal Chat in which ISAACS stated his intention to come to

Washington, D.C., to commit violence against an elected official.

       53.     On January 3, 2021, Watkins sent CROWL a Facebook message stating, “Running

a bit behind. I’ll txt when I’m back at the bar. Getting supplies for DC.”

       54.     On January 3, 2021, Watkins and BENNIE PARKER discussed the uniforms,

gear, and weapons they would wear and bring on January 6, 2021:

       Watkins:                       We are not bringing firearms. QRF will be our Law
                                      Enforcement members of Oathkeepers.
       BENNIE PARKER:                 Good to know.

       Watkins:                       Pack Khaki/Tan pants. Weapons are ok now as well.
                                      Sorry for the confusion. We are packing the car and
                                      heading your way shortly

       BENNIE PARKER:                 We don’t have any khakis We have jeans and our b
                                      d u’s So I can bring my gun?
       55.     On January 3, 2021, Kelly Meggs added Harrelson to the Leadership Signal Chat

and wrote that Harrelson would serve as the “Ground Team lead.”

       56.     On January 3, 2021, Kelly Meggs messaged the Leadership Signal Chat, “Ammo

situation: Are we bringing or are we set at QRF? I mean I’m always gonna have a couple hundred.

But if SHTF we got ample availability.” The same day, Kelly Meggs messaged the Florida Signal

Chat, “Ammo situation. I am checking on as far as what they will have for us if SHTF. I’m gonna




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have a few thousand just in case. If you’ve got it doesn’t hurt to have it. No one ever said[,] shit

I brought too much.”

        57.       On January 3, 2021, STEELE emailed the Florida chapter of the Oath Keepers a

membership application and wrote, “My brother, Gray don Young told me to submit my application

this route to expedite the process.” Later in the day, STEELE emailed Kelly Meggs and wrote,

“My brother, Gray don Young told me to send the application to you so I can be verified for the

Events this coming Tuesday and Wednesday.” The following day, STEELE sent an email to an

Oath Keepers address, copying both Young and Kelly Meggs, attaching her Florida Oath Keepers

membership application and vetting form, and writing, “I was just requested to send my documents

to this email.”

        58.       On January 4, 2021, Rhodes posted a call to action to the Oath Keepers website

encouraging Oath Keepers members and affiliates to go to Washington, D.C., for the events of

January 5-6, 2021. Rhodes emailed the same message to an Oath Keepers list serve. Young

received the message and forwarded it to STEELE.

        59.       On January 4, 2021, CONNIE MEGGS joined Kelly Meggs and a group of other

Florida Oath Keepers members and affiliates in a caravan from Florida to the Washington, D.C.,

metropolitan area. They stopped and spent the night of January 4-5 at the residence of the leader

of the North Carolina chapter of the Oath Keepers.

        60.       On January 4, 2021, Young took a flight from Sarasota, Florida, to Greensboro,

North Carolina, where he met up with STEELE.

        61.       On January 4, 2021, GROWL, SANDRA PARKER, BENNIE PARKER, and

Watkins departed Ohio together and traveled to Northern Virginia, where they spent the night.




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       62.     On January 4,2021, Watkins wrote in the Florida Signal Chat, “Where can we drop

off weapons to the QRF team? I’d like to have the weapons secured prior to the Op tomorrow.”

No one responded to Watkins on that thread.

       63.     On January 5, 2021, Rhodes messaged the Leadership Signal Chat, “Heads up. On

case you don’t already know, [Person Nineteen] is sick with the flu and won’t be there in DC.

Whip is now in charge of op.”

       64.     On January 5, 2021, Young and STEELE departed North Carolina with others and

traveled to the Washington D.C., metropolitan area and checked into the Holiday Inn in

Springfield, Virginia. Young and STEELE each brought firearms, which they left in their vehicle

in the hotel parking lot when they went into Washington, D.C., on January 6, 2021.

       65.     On January 5, 2021, Harrelson messaged the Florida Signal Chat regarding the

location of the “QRF hotel.”

       66.     Between January 1 and 5, 2021, GREENE, Rhodes, Kelly Meggs, Harrelson,

Watkins, Hackett, Moerschel, and other co-conspirators transported firearms, ammunition, and

related items to the Washington, D.C., metropolitan area.

       67.     On January 5, 2021, CONNIE MEGGS, Kelly Meggs, Harrelson, Hackett,

Moerschel, Caldwell, and others dropped off firearms, ammunition, and related gear with their

QRF teams at the Comfort Inn Ballston.

       68.     On January 5, 2021, as Kelly Meggs and others were unloading their weapons, he

messaged Rhodes, “Yes we are just outside of town unloading at QRF on our way in. Left [the

North Carolina Oath Keepers leader’s] place at 4:30am[.]”




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         69.   On January 5, 2021, Caldwell and others drove into Washington, D.C., around the

Capitol, and back to the Comfort Inn Ballston hotel in Virginia. Caldwell described the trip as

“recce,” or a reconnaissance mission.

                                   The January 6 Operation

         70.   On the morning of January 6, 2021, at approximately 6:27 a.m., Rhodes messaged

the Leadership Signal Chat, “We will have several well equipped QRFs outside DC. And there

are many, many others, from other groups, who will be watching and waiting on the outside in

case of worst case scenarios.” At approximately 8:30 a.m., GREENE, Rhodes, and others departed

a hotel in Virginia for Washington, D.C., and drove to the Capitol area.

         71.   On the morning of January 6, 2021, CROWE, SANDRA PARKER, BENNIE

PARKER, STEELE, CONNIE MEGGS, ISAACS, BEEKS, Kelly Meggs, Harrelson, Watkins,

Hackett, Moerschel, Young, Berry, Dolan, and others attended an event on the Ellipse, behind the

White House.

         72.   Harrelson and Dolan left the event to go to the Capitol in advance of the rest of the

group.

         73.   As the events at the Ellipse drew to a close, CROWL, SANDRA PARKER,

BENNIE PARKER, STEELE, CONNIE MEGGS, ISAACS, BEEKS, Kelly Meggs, Watkins,

Hackett, Moerschel, Berry, Young, and others equipped themselves with communication devices

and reinforced vests, helmets, goggles, and other tactical gear. Then they marched to the Capitol.

         74.   At 1:25 p.m., Rhodes messaged the Leadership Signal Chat, “Pence is doing

nothing. As I predicted.” About 15 minutes later, he sent another message, stating, “All I see

Trump doing is complaining. I see no intent by him to do anything. So the patriots are taking it

into their own hands. They’ve had enough.”




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        75.    At 1:42 p.m., GREENE sent a text message to an acquaintance stating, “Storming

the capital,” along with a photograph that appeared to depict the Capitol reflecting pool and the

advancing mob on the west side of the Capitol grounds.

       76.     At 1:48 p.m., Rhodes sent a message to the Leadership Signal Chat informing the

group that he was on his way to the Capitol.

       77.     At 1:50 p.m., while CROWE, SANDRA PARKER, BENNIE PARKER, STEELE,

CONNIE MEGGS, ISAACS, BEEKS, Kelly Meggs, Watkins, Hackett, Moerschel, Berry, Young,

and others were marching toward the Capitol, Watkins made an announcement on the “Stop the

Steal J6” channel on Zello: “It has spread like wildfire that Pence has betrayed us, and everybody’s

marching on the Capitol. . . We have about 30-40 of us. We are sticking together and sticking to

the plan.”

       78.     At 1:52 p.m., Harrelson and Dolan unlawfully entered the restricted Capitol

grounds.

       79.     Shortly before 2:00 p.m., on an invitation-only Signal group chat titled, “Jan 5/6

DC Op Intel team”—which included GREENE, Rhodes, James, and others—a participant posted

a link to a video titled “live stream of patriots storming capital.” Another participant asked, “Are

they actually Patriots - not those who were going to go in disguise as Patriots and cause trouble[?]”

GREENE responded, “There patriots,” and Rhodes responded, “Actual Patriots.               Pissed off

patriots[.] Like the Sons of Liberty were pissed off patriots[.]” James followed with, “Were

coming to Capitol ETA 30 MIN[.]” Over the course of the next half hour, GREENE and James

exchanged about ten calls.




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         80.   At 2:00 p.m., Watkins stated on the “Stop the Steal J6” Zello channel, “Y’all, we’re

one block away from the Capitol right now. I’m probably gonna go silent when we get there,

because I’m gonna be a little busy.”

         81.   At 2:02 p.m., Harrelson and Dolan joined the crowd on the central east steps of the

Capitol. A minute later, Dolan maneuvered his way to the front of the crowd and pulled on the

arm of one of the Capitol Police officers who had reformulated a line on the steps and were trying

to keep the crowd at bay. The officer pushed Dolan away. Dolan and Harrelson remained on the

steps as the crowd pushed the police line farther back up the steps toward the east side Rotunda

doors.

         82.   At 2:06 p.m., Caldwell sent Watkins a text message stating: “Where are you? Pence

has punked out. We are screwed. Teargassing peaceful protesters at capital steps. Getting rowdy

here... I am here at the dry fountain to the left of the Capitol[.]”

         83.   At 2:13 p.m., Rhodes messaged GREENE, “Call me.” GREENE responded, “Went

to vm,” and then informed Rhodes he was “By the trailers.” Rhodes replied, “On my way.”

         84.   At 2:14 p.m., GREENE messaged the Leadership Signal Chat, “The have taken

ground at the capital[.] We need to regroup any members who are not on mission.”

         85.   At 2:21 p.m., CROWE, SANDRA PARKER, BENNIE PARKER, STEELE,
CONNIE MEGGS, ISAACS, BEEKS, Kelly Meggs, Watkins, Hackett, Moerschel, Berry, Young,

and others unlawfully entered the restricted Capitol grounds. Shortly thereafter, the group paused

and gathered in a circle.

         86.    At 2:24 p.m., Rhodes called Kelly Meggs, but the call went to voicemail.




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         87.    At 2:24 p.m., Rhodes sent Kelly Meggs a message stating, “Go to SOUTH side of

US Capitol,” followed by another message stating, “That’s where I am going. To link up with

Whip.”

         88.    At 2:25 p.m., Rhodes forwarded GREENE’s message (“The have taken ground at

the capital[.] We need to regroup any members who are not on mission.”) to the Leadership Signal

Chat and instructed: “Come to South Side of Capitol on steps” and then sent a photograph showing

the east side of the Capitol.

         89.    At 2:26 p.m., CROWE, SANDRA PARKER, BENNIE PARKER, STEELE,
CONNIE MEGGS, ISAACS, SEEKS, Kelly Meggs, Watkins, Hackett, Moerschel, Berry, and

others continued walking northbound along the exterior of the Capitol and entered the plaza in

front of the east side of the Capitol.

         90.    At 2:32 p.m., Kelly Meggs called Rhodes, who was already on the phone with

GREENE. Rhodes conferenced Kelly Meggs into the call.

         91.    At 2:33 p.m., when James and the second group of co-conspirators arrived near the

northwest comer of the Capitol grounds, James called GREENE. James then led the second group

of co-conspirators across the Capitol grounds to the east side of the Capitol.

         92.    At 2:35 p.m., CROWE, SANDRA PARKER, STEELE, CONNIE MEGGS,

ISAACS, BEEKS, Kelly Meggs, Watkins, Hackett, Moerschel, Berry, and Young joined

together—^wearing Oath Keepers clothing, patches, insignia, and battle gear—and maneuvered in

an organized fashion up the steps to the Rotunda Doors, with each member keeping at least one

hand on the shoulder of the other in front of them.




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       93.     Toward the top of the steps, Harrelson and Dolan joined with CROWL, SANDRA

PARKER, STEELE, CONNIE MEGGS, ISAACS, SEEKS, Kelly Meggs, Watkins, Hackett,

Moerschel, Young, and Berry.

       94.     At the top of the steps, CROWL, SANDRA PARKER, STEELE, CONNIE

MEGGS, ISAACS, SEEKS, Kelly Meggs, Harrelson, Watkins, Hackett, Moerschel, Young,

Berry, and Dolan pushed forward as part of a mob that aggressively advanced toward the Rotunda

Doors, assaulted the law enforcement officers guarding the doors, threw objects and sprayed

chemicals toward the officers and the doors, and pulled violently on the doors.

       95.     At 2:39 p.m., ISAACS joined the crowd in forcibly pushing against one of the

Rotunda Doors and the law enforcement officers guarding that door, including United States

Capitol Police Officer M.C., engaged in the performance of his official duties. The mob then

breached the doors and ISAACS entered the building.

       96.     About a minute later, CROWL, SANDRA PARKER, STEELE, CONNIE MEGGS,

ISAACS, SEEKS, Kelly Meggs, Harrelson, Watkins, Hackett, Moerschel, Young, Berry, and

Dolan forced their way through the doors into the Capitol.

       97.     As they entered the Capitol, CROWL, SANDRA PARKER, STEELE, CONNIE

MEGGS, ISAACS, SEEKS, Kelly Meggs, Harrelson, Watkins, Hackett, Moerschel, Young,

Berry, and Dolan joined the larger mob in pushing past at least one law enforcement officer who

was trying to stop the attack on the Capitol.

       98.     After penetrating the Capitol, CROWL, SANDRA PARKER, STEELE, CONNIE

MEGGS, ISAACS, SEEKS, Kelly Meggs, Harrelson, Watkins, Hackett, Moerschel, Young,

Berry, and Dolan moved into the Rotunda.




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       99.     As they navigated through the Rotunda, CROWL, SANDRA PARKER, STEELE,

CONNIE MEGGS, ISAACS, SEEKS, Kelly Meggs, Harrelson, Watkins, Hacked, Moerschel,

Young, Berry, and Dolan continued to communicate with one another by keeping their hands on

each other’s backs.

        100.   CROWL and Watkins recorded a video of themselves inside the Capitol Rotunda.

In the video, CROWL said, “We took on the Capitol! We overran the Capitol!” Watkins and

CROWL then turned the camera around to show their faces. Watkins exclaimed, “We’re in the

fucking Capitol, [unintelligible]!”

        101.   At 2:44 p.m., Watkins stated on the “Stop the Steal J6” Zello channel, “We are in

the mezzanine. We are in the main dome right now. We are rocking it. They are throwing

grenades, they are fricking shooting people with paint balls. But we are in here.” In response,

another member of the channel said, “Get it, Jess. Do your fucking thing. This is what we fucking

[unintelligible] up for. Everything we fucking trained for.”

        102.   Shortly thereafter, CROWL, SANDRA PARKER, STEELE, ISAACS, BEEKS,

Watkins, and Young exited the Rotunda through the northbound hallway toward the Senate

Chamber.

       103.    Around this time, ISAACS yelled “the fight’s not over” and waved rioters down

the hallway toward the Senate Chamber.

       104.    At 2:45 p.m. and afterward, CROWL, SANDRA PARKER, STEELE, ISAACS,

BEEKS, Watkins, and Young joined the mob in pushing against a line of law enforcement officers

guarding the hallway connecting the Rotunda to the Senate Chamber, as Watkins commanded

those around her to “push, push, push,” and to, “get in there, get in there,” while exclaiming, “they




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can’t hold us.” When officers responded by deploying a chemical spray, the mob—including

GROWL, SANDRA PARKER, STEELE, ISAACS, SEEKS, Watkins, and Young—retreated.

        105.   GROWL, SANDRA PARKER, STEELE, ISAACS, SEEKS, Watkins, and Young

regrouped in the Rotunda.

        106.   While his co-conspirators were inside the Capitol, BENNIE PARKER stood in the

restricted Capitol grounds and told a reporter, “We had just had a presidential election and it’s

been stolen from us. . . . [A]ll of these people out here are patriots. And if we need to, if 11 come

to a civil war, and a lot of people are willing to take up their arms.”

        107.   At 2:45 p.m., CONNIE MEGGS, Kelly Meggs, Harrelson, Hackett, Dolan,

Moerschel, and Berry walked southbound out of the Rotunda and toward the House of

Representatives in search of Speaker Pelosi. They did not find Speaker Pelosi.

        108.   At 3:05 p.m., GREENE sent a text message with a picture taken from the Capitol

grounds to an acquaintance stating, “Were storming the Capitol.”

        109.   At 3:08 p.m., GREENE sent a text message to an acquaintance stating, “There in,”

followed by “Fucked up Nancy office.” About one minute later, GREENE texted, “Congress

evacuated.”

        110.   At 3:15 p.m., James and the second group of co-conspirators breached the Capitol.

        111.   After exiting the Capitol, GROWL, SANDRA PARKER, BENNIE PARKER,

STEELE, CONNIE MEGGS, ISAACS, BEEKS, Kelly Meggs, Harrelson, Watkins, Hackett,

Moerschel, Young, Berry, Dolan, James, and others gathered with GREENE and Rhodes on the

plaza just outside the Capitol.

                  (In violation of Title 18, United States Code, Section 1512(k))




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                                        COUNT TWO
                                  (18 U.S.C. §§ 1512(c)(2), 2)
               (Obstruction of an Official Proceeding and Aiding and Abetting)

        112.   Paragraphs 1 through 20 and 24 through 111 of this Indictment are re-alleged and

incorporated by reference as though set forth herein.

       113.    On or about January 6, 2021, in the District of Columbia and elsewhere, the

defendants,

                                     DONOVAN CROWL,
                                      SANDRA PARKER,
                                      BENNIE PARKER,
                                       LAURA STEELE,
                                       CONNIE MEGGS,
                                     WILLIAM ISAACS,
                                     JAMES SEEKS, and
                                     MICHAEL GREENE,

attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, the

Certification of the Electoral College vote, and did aid and abet others known and unknown to the

Grand Jury to do the same.

               (In violation of Title 18, United States Code, Sections 1512(c)(2), 2)




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                                     COUNT THREE
                                     (18 U.S.C. § 372)
              (Conspiracy to Prevent an Officer from Discharging Any Duties)

       114.    Paragraphs 1 through 20 and 24 through 111 of this Indictment are re-alleged and

incorporated by reference as though set forth herein.

       115.    From in and around December 2020, through in and around January 2021, in the

District of Columbia and elsewhere, the defendants,

                                     DONOVAN CROWL,
                                      SANDRA PARKER,
                                      BENNIE PARKER,
                                       LAURA STEELE,
                                       CONNIE MEGGS,
                                     WILLIAM ISAACS,
                                     JAMES SEEKS, and
                                     MICHAEL GREENE,

did knowingly conspire and agree together and with each other to prevent by force, intimidation,

and threat, any person, that is, Members of the United States Congress, from discharging any duties

of any office, trust, and place of confidence under the United States, and to induce by force,

intimidation, and threat, any officer of the United States, that is, Members of the United States

Congress, to leave the place where their duties as officers were required to be performed.

                   (In violation of Title 18, United States Code, Section 372)




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                                     COUNT FOUR
                                  (18 U.S.C. §§ 1361, 2)
              (Destruction of Government Property and Aiding and Abetting)

       116.    Paragraphs 1 through 20 and 24 through 111 of this Indictment are re-alleged and

incorporated by reference as though set forth herein.

       117.    As set forth in paragraphs 9 and 94 through 97, on January 6, 2021, in the District

of Columbia and elsewhere, the defendants,

                                    DONOVAN CROWL,
                                     SANDRA PARKER,
                                      LAURA STEELE,
                                      CONNIE MEGGS,
                                   WILLIAM ISAACS, and
                                       JAMES BEEKS,

attempted to, and did, willfully injure and commit depredation against property of the United

States, that is, the United States Capitol building, thereby causing or attempting to cause damage

that exceeded $1,000, and did aid and abet others known and unknown to the Grand Jury to do so.

                 (In violation of Title 18, United States Code, Sections 1361, 2)




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                                         COUNT FIVE
                                    (18 U.S.C. § 1752(a)(1))
                               (Restricted Building or Grounds)

       118.    Paragraphs 1 through 20 and 24 through 111 of this Indictment are re-alleged and

incorporated by reference as though set forth herein.

       119.    As set forth in paragraphs 8, 85, 89, 92, 94 through 100, and 102 through 107, on

or about January 6, 2021, in the District of Columbia and elsewhere, the defendants,

                                     DONOVAN CROWL,
                                      SANDRA PARKER,
                                      BENNIE PARKER,
                                       LAURA STEELE,
                                       CONNIE MEGGS,
                                     WILLIAM ISAACS,
                                     JAMES BEEKS, and
                                     MICHAEL GREENE,

did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-

off, or otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was temporarily visiting, without lawful authority to do so.

                (In violation of Title 18, United States Code, Section 1752(a)(1))




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                                         COUNT SIX
                                   (18 U.S.C. §§ 231(a)(3), 2)
                           (Civil Disorder and Aiding and Abetting)

       120.    Paragraphs 1 through 20 and 24 through 111 of this Indictment are re-alleged and

incorporated by reference as though set forth herein.

       121.    As set forth in paragraph 95, on or about January 6, 2021, within the District of

Columbia, the defendant,

                                      WILLIAM ISAACS,

committed and attempted to commit and aided and abetted other persons known and unknown to

the Grand Jury to commit an act to obstruct, impede, and interfere with a law enforcement officer,

that is, United States Capitol Police Officer M.C., while Officer M.C. was lawfully engaged in the

lawful performance of his official duties, incident to and during the commission of a civil disorder

which in any way and degree obstructed, delayed, and adversely affected commerce and the

movement of any article and commodity in commerce and the conduct and performance of any

federally protected function.

               (In violation of Title 18, United States Code, Sections 231(a)(3), 2)




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                                       COUNT SEVEN
                                   (18 U.S.C. §§ 231(a)(3), 2)
                           (Civil Disorder and Aiding and Abetting)

       122.    Paragraphs 1 through 20 and 24 through 111 of this Indictment are re-alleged and

incorporated by reference as though set forth herein.

       123.    As set forth in paragraphs 102 through 104, on or about January 6,2021, within the

District of Columbia, the defendants,

                                    DONOVAN CROWL,
                                    SANDRA PARKER,
                                     LAURA STEELE,
                                   WILLIAM ISAACS, and
                                      JAMES REEKS,

committed and attempted to commit and aided and abetted other persons known and unknown to

the Grand Jury to commit an act to obstruct, impede, and interfere with a law enforcement officer,

that is, law enforcement officers guarding the hallway between the Capitol Rotunda and Senate

Chamber, while those officers were lawfully engaged in the lawful performance of their official

duties, incident to and during the commission of a civil disorder which in any way and degree

obstructed, delayed, and adversely affected commerce and the movement of any article and

commodity in commerce and the conduct and performance of any federally protected function.

               (In violation of Title 18, United States Code, Sections 231(a)(3), 2)




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                                   COUNT EIGHT
                              (18 U.S.C. §§ 1512(c)(1), 2)
           (Tampering with Documents or Proceedings and Aiding and Abetting)

        124.   Paragraphs 1 through 20 and 24 through 111 of this Indictment are re-alleged and

incorporated by reference as though set forth herein.

        125.   On January 6, 2021, the Federal Bureau of Investigation opened an investigation

into the attack on the Capitol, and a Grand Jury of the United States District Court for the District

of Columbia subsequently opened an investigation.

       126.    On January 7,2021, STEELE and Young, using a bum pit in STEELE’S backyard,

burned and destroyed evidence of their involvement in the attack on the Capitol, including the

clothing they wore while at the Capitol on January 6, 2021.

       127.    On January 7, 2021, in the District of Columbia and elsewhere, the defendant,

                                        LAURA STEELE,

did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and

attempted to do so, and aided and abetted another known to the Grand Jury in doing so, with the

intent to impair its integrity and availability for use in an official proceeding, that is, the Grand

Jury investigation into the attack on the Capitol on January 6, 2021.

               (In violation of Title 18, United States Code, Sections 1512(c)(1), 2)




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                                        COUNT NINE
                                   (18 U.S.C. §§ 1512(c)(1))
                          (Tampering with Documents or Proceedings)

          128.   Paragraphs 1 through 20, 24 through 111, and 125 of this Indictment are re-alleged

and incorporated by reference as though set forth herein.

          129.   Sometime on or after January 6,2021, GREENE deleted from his cellular telephone

certain media, files, and communications that showed his involvement in the conduct alleged

herein.

          130.   Between on or about January 6,2021, and on or about May 25,2021, in the District

of Columbia and elsewhere, the defendant,

                                      MICHAEL GREENE,

did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and

attempted to do so, with the intent to impair its integrity and availability for use in an official

proceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6, 2021.

                 (In violation of Title 18, United States Code, Sections 1512(c)(1))



                                                      A TRUE BILL




                                                      FOREPERSON




MATTHEW M. GRAVES
ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA


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